         Case 4:07-cr-00317-JM Document 865 Filed 01/09/13 Page 1 of 1




                      IN THE UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF ARKANSAS
                                WESTERN DIVISION


UNITED STATES OF AMERICA

       vs.                  CASE NO. 4:07cr00317-14 JMM

MANDY RENEE LEE


                       AMENDED JUDGMENT & COMMITMENT

       The Judgment entered in this case on January 4, 2013, (DE #863) is amended. At

the request of the supervising officer an additional special condition of supervised release

is that the defendant shall participate, under the guidance and supervision of the probation

officer, in a substance abuse treatment program which may include testing, outpatient

counseling, and residential treatment. Further, the defendant shall abstain from the use

of alcohol throughout the course of treatment.

       The remaining portions of the Judgment will remain in full force and effect.

       The Clerk is directed to provide a copy of this order to the United States Probation

Office and the United States Marshals Service.

       IT IS SO ORDERED this 9th day of January, 2013.



                                          UNITED STATES DISTRICT JUDGE
